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EXHIBIT A

 
 

 

 

 

 

 

 

 

 

 

 

Dover Area Schoph Pistristeet abe 7 paciument 198-2 Filed 09/21/05 Rage-2-bi-49 March 9, 2005
Page 38 Page 40
1) Q: After June or it could have been in June? (1) example of that.
tj A: It could have been in June, yeah. ~My conversation with Bert Spahr was simply
g) @: Do you remember the circumstances in which you 3) a heads up that there was still, you know, some
4) heard about intelligent design? Was it, for 4) talk about some board members of presenting
(s] example, a public school board meeting, a is) some alternative theory. I did not say that
) discussion with a school board member or s) there was creationism, nor did any board member
™m otherwise? 7) ever say to me that they wanted creationism
tq) «= A: I don’t. jg] taught in the classroom.
3}  Q@: Do you remember anything about the substance of is} Additionally, she talks about|creationism
119) what you heard the first time you heard about 119) should still be — Dr. Peterman gays I advise
(11) it? (1) and continue to mention that cfeationism is
iq) A: No. 112) another alternate theory of evolution. That's
3]  Q: The first time you heard about it, was it in 113) Dr. Peterman acting on her o
114 the context of the Dover Area High School 14] The only information I have is that 1 did
11) biology curriculum? 115) know that some of our teachers before teaching
(16 A: J don’t remember that. j1@) the evolution unit would mention other
117) @: When was the first time you heard of the book 1177) theories. They might mention qreationism, but
118) Of Pandas and People? (18) there was no — at this point there was no
9) A: When Bill gave it to me, Mr. Buckingham. (19) directive from the board or admi istration for
20) MR. ROTHSCHILD: Let me mark this document = 20) them to do so.
(21) as P-9.. 21} So the way I reacted to thisjis I ignored
(22) CP Deposition Exhibit Number 9 marked for \2q) this because the board was not putting forth
23] identification.) - 23] any definite plans or content of curriculum to
(24) BY MR. ROTHSCHILD: jes) be implemented.
25) GQ: Do you recognize the document we've marked as .. 25) Mr. Bonsell at a board retreat, where
Page 39 Page 4
(1 P-9? 11) there’s administrators all around, had, just in
@ A; Yes. talking about something, mentioned this 50/50.
i) 6©0«-:« Q: Is this a memorandum that you received on or (3) He did not talk to me personally about that,
4) around April 1st, 2003 from the principal, 4) nor direct that to happen. And|I simply took
i) Trudy Peterman? 1s) that back to Bert Spahr just to give her a
1 «6s As Yes. js) heads up that there are board members that are
m  Q: Could you review this document and let me know 77 still looking at alternatives that are being
1) whether there’s anything in it that you — 18) presented.
1} well, review the document and let me know  Q@: You've got a lot packaged in here. First of
110) whether there’s anything in it you think is 10) all, you said ignored this. Can ] take from
(11) incorrect. (11) that that you did not respond fo Ms. Peterman?
{tq A: Okay.There are a number — just the first two t1q As Correct.
i13] pages or do you want me to do the rest? 113): Verbally or in writing?
4) Q: I think we can probably just look at the first (14) A: Correct.
(15) two pages for purposes of my question. 4s}  @: Did you have any followup conversation with
114) A: There are a number of errors and inaccuracies. 116) Ms. Spahr in reaction to this memo?
17 Q: Could you describe them? 17 A: That I don’t renee 1 would be talking
18) A: First, Trudy — Dr. Peterman was not at the (18) to Mrs. Spahr continually anyway as long as
119) meeting — was not at the — or was not present {19 there was some interest in pr¢senting
2) when I had a conversation with Mrs. Spahr that 20) alternative theories and since}we were working
21] generated this memo. 21) on the science curriculum,
2a ~—«‘ [never told Mrs. Spahr that the board 223 Q: This isa memo from April 1st, 2003 and you
23] wanted creationism taught. Dr. Peterman in 23) said — the way you started your answer was
(24) Many instances overreacts to instances and 24) that there was still some talk about presenting
2) jumps the gun and I think this is a good 25) an alternative theory. What do you mean still
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1) made that statement?

2)

A: We're reading that statement making students

13] aware of intelligent design and that there's a
14) book in the library, if they ‘wanted to research

{5)
(6)
7
(8
I
{10}
(11]
(12)
[13]
[14]
(15)
(16)
(17)
(18)
(19}

{21}
f22]
(23
(24)
(25)

{1}
)
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5)
16
8
(8
[10]
(11)
{12}
{13}
14]
(15)
(18)
(17}
(18)
(19)
[20}
{21}
[22]
(23)
[24]
[25]

that they could.

Q: When the statement is read to the students and
they are being made aware of intelligent
design, is it your tesumony that that is not
teaching the students?

A: Yes.

Q: What do you call that doing?

A: Making them aware.

Q: Do you understand the students to be learning
when that statement is made?

A: They're learning that they're aware of a book
in the library.

Q: So they're learning, but not being taught?

A: Correct.

Q: In the news article I was asking you to look at
a couple of paragraphs down it says, The
district has not rejected the proposed new
textbook, Baksa said, but it will continue to
look for a book that will make everyone happy.

Was that an accurate characterization of

what you said?

Page 75

A: Yes.

Q: And when you were referring to the proposed new
textbook, were you referring to the Miller
Levine book recommended by the teachers?

A: Yes.

Q: And when you said that the district is
continuing to look for a book that will make
everyone happy, what did you mean by that?

A: A book that would be acceptable to the board
curriculum committee and the teachers.

Q: What was your understanding of what it would
take in a book to make everyone happy?

A: I think the board curriculum committee was
concerned with the presentation of Darwin and
so they were examining the chapters that dealt
with Darwin.

Q: And what was your understanding of what they
were concerned about?

A: That Darwin was taught as a fact and that it
was overstated as a given with no mention of
any shortcomings or gaps Or problems.

Q: And did you personally ever review the biology
textbook to reach your own conclusion about
whether the book, in fact, did identify gaps or
shortcomings in the theory?

 

A: Yes.
ta Q: And what conclusion did you come to?
3) A: The 2004 edition of the Miller Levine does
4) mention gaps.
ts)  Q: Is that different from earlier versipns being
i) used by — that were being used by the school
in district?
i) A: The 2004 edition of the Miller Leine made a
is} number of changes that softened the
119 presentation of Darwin.
(11) @: So, in fact, the textbook that the teachers
112) were recommending did, in fact, addrqss what
113) the school board was worried about, whether the
gaps and shortcomings were being iddntified?
MR. GILLEN: Objection to the question.
It's misleading, characterizes the ant
position without adequate foundation
BY MR. ROTHSCHILD:
Q: You can answer.
A: The teachers recommended the
and the board approved that text.
Q: And that text does identify gaps
A: Yes.
Q: And shortcomings?

[1]

(14)
(15)
{16}
(17]
{18]
(18)
(20)
(21)
{22}
(23)
{24}
(25)

correct?

used, but gaps is used.
Q: Okay. So given that the book idqntifies gaps,
is there any reason why the students needed to
be told separately Darwin's theory has gaps —
MR. GILLEN: Objection, calls for
speculation.

{i
(2)
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(11}
112]
113]

= &

 

BY MR. ROTHSCHILD:

Q: — in the statement that you read to the
students on January 18th?

A: Could you ask that again?

Q: Yes. If the book identifies gaps in Darwin's
theory of evolution, why is the distri making
a point to tell the students in a statement
read before the subject of evolution is covered
Darwin's theory has gaps?

MRA, GILLEN: Objection, calls for
speculation.

A: I was directed to work with th¢ board and the
(19) teachers to develop a statement thatthe
fe teachers would read to address the concerns
fet) that Darwin's theory is not taught asja fact,
(za) that other alternative theories of evolution
[23] were presented and that students being made
24) aware of the book Of Pandas and People and that

{14]
(1)
{16}
{17]
(18)

 

 

125) resulted in that statement being — Having

Page 76

e.

2004 Miller Levine

A: I don't remember the word shoytcomings being t a

 

page @D

 

 

 

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() the curriculum, nobody has ever done that in 4) language, but in August it turned out that

fj any meetings of the board or the board a regardless of what they had said beforf,

(3) curriculum committee? 3] they're not okay with it? ©
4) A: obody has — 1 A: Correct.

i) ©: Said here’s why we should present intelligent  @: And other than Ms. Spahr indicating that the

6) design to the students. e) teachers hadn't been consulted and didn’t agree

m A: Intelligent design was suggested just to be as im with this, did she explain what's wrong with

(g) an example of one of the other theories, (a) intelligent design?

1g} alternative theories other than Darwin’s. «A: Mrs. Spahr from the very beginning, from
110) @: Mr. Baksa, 1 could suggest that another theory 19] documents 897, which inchade reference to
11) of the development of species is they were all 11) intelligent design, in my conversations with
112 made out of playdough, right, I mean I could 11q Mrs. Spahr she made no distinction between
113) say that, right, and you would agree with me 13} intelligent design and creationism. Fot her
(14) that that’s a scientifically unsound 114) they were synonymous.

1) proposition? Is that fair? 1) @: And did she explain why she hqld that view?
16) A: Are we talking about playdough now? 16) A: From her research that she had done she felt

177 = @: I'm not talking about the philosopher. 'm 17) that legally we would not be able to teach

i1@) talking about the stuff that's like clay. (18) intelligent design because it’s just

19) A: Inthe discussions about language that we would (19) creationism.

20) use, intelligent design was brought up as when zo) Q: And did she express that view at either this

et) we're making students generally aware of other zt) June board meeting or — the June cprriculum

241 theories, intelligent design was brought up as 22) committee meeting or the August cufriculum

(23) an example.And I don’t remember presenting it 3] committee meeting?

ea) in that way that being challenged. I think a) At I know she did to me. I’m not sure if she did

25) that was generally accepted. 25) at either of those other meetings.

Page 139 pogo

1) ~~ @: Okay, But I assume that when you're trying to 1) Q: In these notes from this August meeting on Page
w develop science curriculum you're actually — a 58 it says, Call Russell - did they say what

13] and you're making students aware of other 1a) schools are using it.

4) theories you're trying to make them aware of 4) Did you make an inquiry to the solicitor

is] scientific theories, correct? ( about whether other schools were Thing this

«60 SA: Yes. And it was my understanding at the June je) textbook?

i meeting that the teachers were okay with m A: We did ask our solicitor to seejif there were

(3) language that included intelligent design. So ) any other schools using the book, tq give us an

je) 1 would have — again, my goal was to try to 1) opinion on its use as a Classroom set or to

[19] Come to some agreement between the concerns of 119) distribute it to each individual stud¢nt, if

(1) the board and the language teachers could live (1) there were any cases involving the teaching of

(iq with. So I thought we — that was acceptable (12) intelligent design and also asked fora

[13] to them. (13] specific law firm's history.

14)  @: Okay. But at that June meeting nobody 114) Q: And was that the Thomas More Law Center?

116) explained what intelligent design was or what 1 A: I think so, yes.

(16) its status was in the scientific community at jg «=: In terms of finding out whether other schools
17) large or anything like that? 117] used it, did you get an answer to thie

tia} =A: Idon't remember any of them doing that. (19) question?

tg) @: And that never happened after that either, 119) A: The only school that I found ;— that came to my
[20] correct, as far as you know? (2) attention that used it was Tomball.

jz) A: Yes. 1) Q: Did you also make a call toa body at Liberty
tq Q: I'm correct? 22) University relating to intelligent design or

(23) | A: You're correct. (23) Pandas, a Dr. Gillen maybe? ©
24)  Q: And originally it was your understanding that 4 ~— A: Yes. Dr. Gillen taught at Tomball.

2s the science teachers were okay with this 25) Q: In the answers to interrogatories it says that

 

 

 

 

 

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) statement that was read to students in the
) biology classes, that a theory in science is a
) general conclusion or assumption drawn after
] observation.
} Q: And, you know, the students are being taught
q it’s a theory, not a fact. And that language
1 is not being used for any other theory that's
y being taught to Dover students, correct? The
y Curriculum hasn't changed so that students are
y told that germ theory is a theory, not a fact,
) or the theory of gravity is a theory, nota
q fact, or atomic theory is a theory not a fact.
3 Right?
yA: That's correct.
3 Q: Only evolution is being singled out. Is that
3 fair?
7 A: That’s correct.
3) Q: Has anybody in the board ever communicated why

3) of all the scientific concepts being taught to

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[16]
(17)
(18)
{19}

Q: Did any school board member ever |
textbook and say, look, in here it says that
evolution is a fact, not a theory or it’s a
fact and a theory? Is there any text that th
pointed you to that made that assertion?

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pick up this

ey

 

A: I don’t remember specific pages, b

1 do think

I remember both Mr. Bonsell — I know for sure

Mr. Bonsell felt that there was language i
there — I remember him saying that the
talk about evolution without saying it's a
theory, that they were omitting the word
theory. So he felt that strengthened the

se
to present it as a fact.And Mr. Bonsell we

have been looking at the edition before
2002.

Q: But that wouldn’t really matter for
curriculum item you developed because|

was

¢€

the
the

edition you were using was the 2004 edition,

correct?

 

 

 

 

 

 

 

9) Dover students evolution is being singled out 120, A: In August, yes.
4 for the qualification that it’s a theory, not a et) @: And Mr. Baksa, I'm looking at the t¢acher's
q fact? 22) version of the biology textbook, but lam
3} A: Not to me. 23) fairly confident that in this respect it’s
4 @: And in your understanding of the scientific 24) similar to the student's version, that, in
3 terms of theory and fact, could a scientific 25) fact, the heading, as you start your study of
Page 147 me
4) theory ever graduate to 4 fact? i) evolution, is Darwin's Theory of Evolution.
2 A: Thave no idea in the scientific world what A: Um-hum.
@) qualifies something to move from one stage to i) _@: So in that respect it’s not misleading the
4) another or even what the definition of either 4) students at all, it's in marquee and klieg
i of them might be in the scientific world. s) lights presented as a theory, correct?
i) G: Did any school board member ever explain why t A: I have no idea.
m they wanted language that it was a theory, not m  @: Do you understand intelligent design to bea
1s} a fact? I} scientific theory?
') A: Nothing other than they felt that that was an i) A: I understand professors like Mich¢el Behe at
19) Erroneous presentation in the textbook, to 110) Lehigh University are either proponents or
i] present it as such. 11) researchers for intelligent design. My
13 Q@: What was erroneous? 112) knowledge of intelligent design and th
139 As: That it was being presented as a fact when, in {13} scientific community is fairly limited. 1
14) fact, it's a theory that still hasn’t been 114) haven't been exploring it for a long pe iod of
19) ultimately proven to be a fact. 119 time. So I don’t know that I could fully
1s) Q: In all the page sites that school board members (1) answer that other than knowing a few
7) called to your attention did they ever show you 117) individuals who are involved in intelligent
18) text in the textbook that was adopted in which tig) design.
19) evolution was called a fact, not a theory? 19) Q@: Do you understand that there’s ajdistinction
2) MR. GILLEN: Objection to the 20) between something that scientists say and
24) Characterization of his testimony to the extent 124) something being a scientific theory? Not
24 it implies more than one board member did that. 22) everything scientists say is a scientific
23) Answer, Mike. 23) theory. You would agree with that, right? @
24) A: Could you — (24) A: Okay.
25} BY MR. ROTHSCHILD: 26) Q: Do you agree with that or do you just not know
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1) one way or the other? 1) A: I believe my secretary Amy Aumen formatted it.
wz A: Imean,!’m not in a position to judge what the iQ: Do you know whether Mr/ Nilsen created this on
ia) scientific community, how they — the standards i) his own or with the aid of othess?
a) they set and the judgments they make about A: I believe he created this in| conjunction with
5) their colleagues and their research and the ts) Thomas More.
je] status it has. I just have no knowledge of i Q: If you turn to the second jpage there is a
(7) that. m frequently asked question, Wha is the theory
3 @: And how would you — what would it take for you is) of Intelligent Design. And it say: The theory
i) to feel qualified to answer the question 9) of intelligent design is a scientific theory
10) whether intelligent design is a scientific (10) that differs from Darwin’s viewjand is endorsed
(1) theory? What expertise would you feel you 11) by a growing number of credible scientists.
12g) would have to have or what resource would you 12] Do you know what the Dover Area Schoo!
13] feel you would need to look to to make a 113) District based its assertion that intelligent
4} determination for yourself whether intelligent 114] design is a scientific theory on?
tg) design is a scientific theory? ti) A: No.
6) A: 1 don’t know. 116) @: Going back to the development of curriculum.
17) MR. GILLEN: Objection. It calls for 117) Out of this August meeting you) had taken on the
1) speculation. If you can answer, do. 118) task to develop an edition to the curriculum
tg «=A: Yeah, I don’t know. 119) with the teachers, correct?
(20) BY MR. ROTHSCHILD: re) ~—COA: Yess.
(2) Q: Do you feel that you could make a judgment ey «=: And did that, in fact, occur?
(zz) about whether intelligent design is, in fact, a ea) OAs: Yes.
23) scientific theory by listening to the opinions 23)  @: And in terms of who actually created the text
24) of the members of the Dover Area School Board? 24) for it, who did that, you, the teachers or
5) A: I wasn't making — I wasn’t asked to make a 2s) both?
Page 154 Page 15:
(y judgment. What I was asked to do was to work 1) A: I wrote a first draft and I pave it to the
i with the board curriculum committee and the 2) teachers.
3) whole board and the teachers to develop 3)  P Deposition Exhibit Numbers 20 and 21
14) language that was agreeable in the curriculum, 4) marked for identification.)
ig) to find a textbook that was agreeable to both 8 BY MR. ROTHSCHILD:
is) and to develop a statement that would be read i ©. @: Do you recognize the exhibits we've marked
m to the students that would be agreeable to them m as 20 and 21?
(8) and that was my role. «0A: 20 and 21? I don’t have these.
= MR.ROTHSCHILD: Can we mark this as an )  @: Exhibits 20 and 21.
(10) exhibit, please? 19 ~=s MR. GILLEN: Yes, you do.
(14) @ Deposition Exhibit Number 19 marked for 111) A: Oh, oh. .
a identification.) (12) BY MR. ROTHSCHILD:
113) BY MR. ROTHSCHILD: 133 @: And are these the product of your work with the
4) Q@: Do you recognize the document we've marked as 114) science department on developing a modification
(18) P-19? 119) to the biology curriculum?
(16) «=A: Yes. i) A: Yes, but not entirely.
7 = @: And what is it? 17) Q: And what’s missing?
13) A: This is a news release that the district sent te) A: There’s another teacher draft.
19] to all of our residents. (19) @: And chronologically hefe where does that
20) ~@: And who prepared this document? 120) teacher draft fall, before September 20th,
ty =A: Dr. Nilsen. 21) before September 21st?
za)  Q: Did you have any involvement with it? za) A: It would be a draft created on October 18th.
(23, +~= A: No. 2a) Q: October 18th, okay. So up till — sorry, Pll
j24) Q@: Do you know if anybody else had any involvement 24) back up.Am I correct that tf documeng were
(2s) with it? 28) looking at as 20 and 21 are identical except .
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(1] And I believe 1 rememb
2) talking-and Mrs. Miller walking say
® ern ther it was before the-vote or after the
i were
(s}  Q: Did anybody who was advocating a vote for
i) yersion J.guess it was 1iA getup and speak in
m support of it?
i) «6 Arstti'don't remember anyone saying anything for
19) LIA. ©
po Q: In articles after the resoluti
1) ANBe'Vinghitie has been quot

112) rfieiibess of the board suggested that she swould
{13} be atheist or unChristian if she didn’t vote .

114) for the intelligent design resolution. Did. you” :
ns observe any remarks of that kind?

je) A: Yeah.

17 + @: And Casey Brown has been quoted as saying that
{18} school board members asked her whether she is
119] born again. Did you observe anything like

j2q) that?

2 =A: No.

22)  @: Are you aware that the Discovery Institute
123] released a press release criticizing Dover for

24) passing the resolution it did? .

jes} 420A: Yess.

 

Page 176
«) A: Prior to.
i Q: Where did that meeting ocqur?
i] A: At the administration office conference room.
43 Q: Who was there?
i) A: J was, Dr. Nilsen, Mr. Bonsel] and 1 believe
6) Mr. Buckingham and Mrs. Harkins.

m™  Q: Who participated on behalf of the Discovery

(8) Institute?

pi A: 1 forget his name.
1)  Q: Was it someone named Seth Cooper?
4) A: Yes:
1127 Q: Do you know who initiated the meeting?
ta} A: No.
14) GQ: Was the discussion about aL legality of
16) teaching of the curriculum or pedagogical
(16) merits of the curriculum?
17 A: The discussion, Discovery {nstitute felt that
{18}
19) MR. GILLEN: Wait.To the extant you
j2o] understood you were receiving egal advice from
21) Mr. Cooper with the board meeting, as a board
aq for the purpose of getting that légal advice,
(23) don't disclose that information.
(24) BY MR. ROTHSCHILD:
6}  @: I think I asked you the qu¢stion, the

 

} Page 175

1) Q@: And how did you become aware of that?

1 A: Idon’t remember that.

13) @: Did you participate in any discussions with
4) anybody at the school district or school board

is} about the Discovery Institute taking that

(6) position?

mA: I might have talked to Dr. Nilsen about it.

3) +: And describe your conversation.

i) A: Ireally don’t recall specifics of that

(10) Conversation. I just know that we did

114) recognize that they had this press release, but

112) I don’t really recall specifically what we

(131 talked about.

14 Q: Are you aware that members of the Discovery
(15) Institute communicated with the schoo! district
te directly about their curriculum change?

7 A: Yes.

11s) @: Have you participated in any of those

(19) discussions?

ja) «6S A: Twas ata meeting with a representative from
1) the Discovery Institute.

eq) @: And when did that meeting occur?

p3) A: I guess prior to — sometime after the October
j24) 18th I think.

je) GQ: Was it prior to or after the lawsuit was filed?

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1) foundation for that, was the discussion of the

2 board curriculum in the nature pf did you

13] discuss whether the change wa legal or did you

14) discuss the scientific or pedago ical merits of

i the change of the board curric hum?

i) MR. GILLEN: You can answe that.

mA: Legal.

(8) BY MR. ROTHSCHILD:

1 GQ: Only legal?
19} A: Yeah, I would say so, yea.
(11) Q: Do you have any knowledge of how this meeting
[12] was arranged?
13] <A: No.
114) @: Do you know who arranged the meeting?
7s) A: No.
116) Q: When this meeting began, and I’m going to tread
(17) carefully here. So, you know,
{18} just my limited question. We'll ke it step
119) by step. Who began the discussi
reo) A: I think it was Mr. Cooper,
2) | @: Was there any part of that discussion that
22] included discussion that the Discovery
(23) Institute would represent the dchoo] district
24) in any litigation over the policy?
25) MR. GILLEN: Eric, based on the

 

  
 
 
 

 

 

 

 

 

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Dover Area School District, et al.

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jammy WAL

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March 9, 2005

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1) The Myth of Separation by David Barton to
(23 review from board members. Why did you call
3] his attention to that fact in response to this

ja) e-mail?

(5)

A: Generally, his e-mail speaks to the involvement

1 of the board in the curriculum. And, you know,
m the board — what J was saying back to Mr. Neal
{a} is that social studies is next year and Mr. —

(i A believe it was Mr. Bonsell has already

{14}
112}
{13]

(14}

studies curriculum.

At this point Mr. Neal is aware of that.
Dr, Nilsen and Mr. Bonsell did.meet with Mr.
Hooverand Mrs. Neal and discuss aspects of the

pspeuericulum and I believe Mr. Hoover was

 

 

1)

B)
{4)

=

(5)
(6)
{8)
8
{10}
(11]
(2)

(13)
(14]

Page 184
with you and Mr. Bonsell and Mr| Hoover and Mr.
Neal?
A: No, I was never at those m¢
Q: Okay. So you were not part
anybody report to you what wag said in them?
A: I think Dr. Nilsen gave me jike a one-page
topic summary of what they distussed.I don't
recall anything else. 1 know I didn’t sit down
with Dr. Nilsen and talk at greatilength about
the meeting.
Q: What do you remember frpm the document
summarizing the meeting?
A: I don't remember it.
Q: Is that a document you still have in your

etings.
of them. Did

 

 

 
 
 

 

115) possession?
116) fai mitiar with the book and had read the book 116) A: Yeah, it might be.
17) already. 17 MR. ROTHSCHILD: I request the production
ji) @: Was it Mr. Bonsell who gave you — you said you 118) Of that document.
119) were given this book by the board members. Who ig) «= MR. GILLEN: Sure.
j2o) were the board members who gave it to you? [20] BY MR. ROTHSCHILD:
21) A: I think it was just Mr. Bonsell. 2) Q: Is it your understanding ffom receiving The
2}  @: And did he say anything to you when he gave you 2 Myth of Separation and gettingja report on the
23) this book? 231 views of Mr. Bonsell that Mr. Bqnsell is trying
a)  AtActually, it might have been given to — I 24) to change the social studies curriculum to
2) don’t remember him saying anything to me and it 25) present a view about the founding that is more
Page 183 Page 18&
1) actually might have been given to Dr. Nilsen 1) religious in nature than is currently being
ig first‘@iid he gave it to me.1 don’t remember. 2) taught?
Bi @ And in your e-mail you say feel free to borrow 3) MR. GILLEN: Objection, calls for
4) My copy to get an idea of where the board is 14) speculation.

(10)
(11)
1g
{13]
(14)
{15}
{16}
(17)
(18}
{19)
(20)
(24)
[22]
[23]
(24)
(25)

coming from. At the time you sent this e-mail
had you examined the book?

A; Just skimmed it.

Q:-And’what did you mean by, you know, get an idea
of where the board is coming from?

A: Just that reading the book might help explain
what concerns the board might have in our
existing social studies curriculum.

Q: I mean, having skimmed the book and heard from
Mr‘Bonsell, what did you understand those
concerns to be?

A: I never met with Mr. Bonsell about this.

Q: Do you know what The Myth of Separation 1s
about?

A: In a vague sense.

Q@: What's that?

A: That the separation of church and state might
never. have been the clear intent of our
founding fathers.1 couldn't explain it more
than that.

Q: And you said that there’s since been meetings

15]
{6]
mn
(8
9]

[19]

(11)

(12)

[13]

[14]

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116)

(17)

118]

119}

(20)

(21)

22]

(23)

[24]

 

 

(25)

 

A: I haven't had that conve
Bonsell. The only thing, when ] first came on
in 2002/2003 I know Mr. Bonsell did hand me a
copy of one of George Washi on's — his
inaugural address or his spee and did express
concern that he wanted to e sure that in our
curriculum our students were |being taught about
our founding fathers and werq being taught
about the Constitution. 1 don’y remember
having a conversation with M. . Bonsell about
separation of church and statq.

BY MR. ROTHSCHILD:

Q: Was there something specific in the inaugural
address he was calling your attention to?

A: No, not that I recall.

Q: So it’s just he wanted th
read, whatever it said?

A: I don’t know that he wahted it read. It was
just a document he gave me that he felt was
important.

Q: And is that something you still have in your

 
  
 
  
 

p inaugural address

 

 

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Aarch 9, 2005 over Area
Page 194

() understanding that her expertise in creationism ti) BY MR. GILLEN:

a and Bible science would be useful for you? ~  @Q: Eric was just asking about subjects in the

pg) <A: No. @ curriculum. 1 wanted to ask you, has any board

#)  Q: During the course of this testimony you've 4] member expressed concerns about the curticulum
js) described how Mr. Bonsell has expressed some is) touching on sex education?

jg) issues Or Concerns relating to the social i A: _ Yes. That — yes.

m studies curriculum. Has any individual board m  Q: Okay.1 thought that perhaps at this mpment in
js) member or the board as a whole identified any i) time you weren't remembering that.

fy other curriculum issues which they have ) ‘I think this is clear from your testimony,

(19) concerns or issues about? (19) but I just want to ask you for the record. At

1 «= At I would say that differently. I don’t know (11) any point in —

(tq that Mr. Bonsell reviewed the social studies iq At If 1 could interrupt. There is a currentiboard
(1g Curriculum. He just thought it was important 113] member, Mrs. Geesy, who did express concern

(4 that in a curriculum the Constitution is taught 4) about inhalants in that curriculum piece. It{s

1g) -and the founding fathers are taught. 119) the health curriculum.

iQ: And he also, apparently, sent this book, Myth (1) Q: At any point in this process did any board

{17} of Separation, to the administration? »

i A: I believe he gave that to Dr. Nilsen, yes.

vs) = Q: Other than that and what we've discussed about
fq) the biology.curriculum can you think of any

fe) other aspects of curriculum where the board or

4 individual board members has expressed

23) concerns, raised issues or made suggestions

jes) about how the curriculum should be changed?

es) A: Again, Mrs. Brown did have concerns with the

(17) member direct you to take steps to implentent
jiq the teaching of creationism?
ig) A: No.

fo) MR. GILLEN: I have no further questions.

je4] teaching of sex education?
rs} A: When I came to the Dover district th

(21) EXAMINATION
[22] BY MR. ROTHSCHILD:
23}  Q@: Which board members raised issues about the

 

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(1) family consumer science curriculum, the

(q foundations of that curriculum. In fact, at

fj one point Mrs. Brown reviewed the entire

4) program studies for the high school and made

| suggestions that we return to some former

{6} Curriculum courses that had been deleted in the
7] current years.

fg) + G: What about limiting the question to Current
members of the board, other than what you've
(1) already described, do you have any further

(11) answer to my question?

qs A: What's the question?

113) Q: The same question that you responded with
ta) discussion about Mrs. Brown, have the board or
{19 individual board members raised concerns or
119] issues about any aspect of any curriculum item
(17) or made suggestions about how the curriculum
{18 should be added to, modified or subtracted

tt from?

po «= A: I.can only think of Mr. Bonsell and social
fet] studies.

eq MR. ROTHSCHILD: Those are all my

23] questions. Do you have any, Pat?

pq MA. GILLEN: I just have a few.

5] EXAMINATION

fg) started, 2002/2003.
(4)
by Dr. Nilsen as having come to him d
(6) role as assistant superintendent in bringi
m those curriculums to review and revision} So |
don't — I'm not aware of particular boa
fs) members’ names who raised the issues.
(19) Q: Were you aware of the nature of the issu
(11)
{tq] abstinence and how much information
(13] give students about that information for
(14) to make good decisions.
[15]
(te) board members who raised concerns, what th
(17) preference was?
te) A: No,I don’t,I don't remember that.
1g) Q: The question I'm going to ask you
(20) not trying to solicit any communications that
1) happened with counsel or in the presence of
2) counsel. So putting any communications that

23 fit that description aside, has there been any

j24 discussion — are you aware of any discpssion
2) by the board or among board members|about

 

  
 
  
   

 

 

 

 

e math

() curriculum and the health curriculum were under
(2) review and they were implemented in the year I

So those concerns were communicated to me
img his.

e?

A: Generally it has to do with contraceptives and

Q: And do you have an understandin: of what the

eir

right now I’m

 

 

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Counter Designation

In The Matter Of: C

Tammy Kitzmiller, et al. v.
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OIPY

 

Michael Baksa
March 9, 2005

 

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«) @: After June or it could have been in June?
fa A: It could have been in June, yeah.
f Q: Do you remember the circumstances in which you
4} heard about intelligent design? Was it, for
is) example, a public school board meeting, a
{6} discussion with a school board member or
m™m otherwise?
t «© A: I don’t.
~) Q: Do you remember anything about the substance of
(19) what you heard the first time you heard about
(11) it?
nq. A: No.
13} Q: The first time you heard about it, was it in
114) the context of the Dover Area High School
(1) biology curriculum?
16 = A: I don’t remember that.
17] Q: When was the first time you heard of the book
1a) Of Pandas and People?
19 A: When Bill gave it to me, Mr. Buckingham.
re) «6- MR. ROTHSCHILD: Let-:me mark this. document ¢
Py as PD,
2) © Deposition Exhibit Number 9 marked for
23] identification.) ¢
(24) BY MR. ROTHSCHILD:
es Q: Do-you recognize the document we've marked as ,

i) PO? 5

mam <A: ¥es. {

ep) Q: Is this a memorandum that you received on or
4) around April Ast, 2003 from the principal, :

mm  @: Could you review this document and let me know
i) whether there's anything in it that you —

~) well, review the document and Jet me know
io) whether there’s anything in it you think is
(1) incorrect.
ya A: Okay.There are a number — just the first two
It3] pages or do you want me to do the rest?
4;  Q: I think we can probably just Jook at the first
(15) two pages for purposes of my question.
A: There are a number of errors and inaccuracies.

{16]
17 Q@: Could you describe them?
ye A: First, Trudy — Dr. Peterman was not at the

(9) meeting — was not at the — or was not present
eq) when I had a conversation with Mrs. Spahr that
(21) generated this memo.

(223 I never told Mrs. Spahr that the board

(23) wanted creationism taught. Dr. Peterman in /
(4) many instances overreacts to instances and

2) jumps the gun and I think this is a good

 

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exampic of that.
My conversation with Bert S
3) a heads up that there was still,

js} taught in the classroom.
a Additionally, she talks about
19) should still be — Dr. Peterman

13) Dr. Peterman acting on her own
14
(1s) know that some of our teachers
6 the cvolution unit would menti

f2q) them to do so.

(21) So the way I reacted to this
tz) this because the board was not
‘|2a, any definite plans or content or
(a4) be implemented.

(25)

  
  

The only information I have F that I did
o

Mr. Bonsell at a board retreat!

Page 4(

 

{tt} and continue to mention that creationism is
12, another alternate theory of evolution. That's

re teaching
ther

17) theories. They might mention creationism, but
[tq] there was no — at this point there was no
19 directive from the board or administration for

he ignored

utting forth
Curriculum to

where

 

N

j

te) heads up that there are board
1) still looking at alternatives that
@) presented.

209) alternative theories and since w
21) on the science curriculum.

fea ~«=- Q: This is a memo from April
(23) said — the way you started yous

 

 

ia

i Page ¢
1) there's administrators all around! Y

talking about something, mentioned this 50/50.

} He did not talk to me personally| about that,

# nor direct that to happen. And I simply took
js} that back to Bert Spahr just to . hera

had, just in

 

that are
being

-  Q: You've got a lot packaged in here. First of
(19) all, you said ignored this. Can I take from

11) that that you did not respond to|Ms. Peterman?
1q——«A: Correct.

413). Q: Verbally or in writing?

14) A: Correct.

15} Q: Did you have any follow-up conversation with
1¢ Ms. Spahr in reaction to this memo?

«7. A: That I don’t remember, but I would be talking

{18} to Mrs. Spahr continually anyway as long as
119 there was some interest in presdnting

e were working

ist, 2003 and you
| answer was

(24) that there was still some talk about presenting
(25) an alternative theory. What do you mean still

 

 

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made that statement? 1) A: Yes.
i «A: We're reading that statement making students —Q: And what conclusion did you come to?
py aware of intelligent design and that there’s a A: The 2004 edition of the Miller e does @ |
4) book in the library, if they wanted to research 4) mention gaps.
i) that they could. ts) Q: Is that different from earlier versions bein
i) @: When the statement is read to the students and ia used by — that were being used by the chool
m they are being made aware of intelligent 1 district?
t@ design, is it your testimony that that is not ) A: The 2004 edition of the Miller ¢ made a
js teaching the students? (9) number of changes that softened the
to, =A: Yes. 1 presentation of Darwin.
11) @: What do you call that doing? 1) Q: So, in fact, the textbook that the teachers
iq =O A: Making them aware. tq) were recommending did, in fact, ad what
13 @: Do you understand the students to be learning 113) the school board was worried about, whether the
(4) when that statement is made? (14) gaps and shortcomings were being ide ified?
11 A: They're learning that they're aware of a book (1) MR. GILLEN: Objection to the questi
te) in the library. {1 It’s misleading, characterizes the board's
17) Q: So they're learning, but not being taught? 117) position without adequate foundation.
‘2 A: Correct. (18) BY MR. ROTHSCHILD:
19) «© Q: In the news article I was asking you to look at 19) +: You can answer.
po) a couple of paragraphs down it says, The rq A: The teachers recommended the 2004 Miller Levine
21) district has not rejected the proposed new 1) and the board approved that text.
jz textbook, Baksa said, but it will continue to 27  @Q: And that text does identify gaps, c brrect?
3) look for a book that will make everyone happy. a —sCOA::'Yess.
(24) Was that an accurate characterization of 4) =: And shortcomings?
j25) what you said? 5} A: I don't remember the word shortcomings being
Page 75 Page
1) A: Yes. (1) used, but gaps is used.
fq Q@: And when you were referring to the proposed new = Q:: Okay. So given that the book identifies gaps,
a) textbook, were you referring to the Miller f@ is there any reason why the students needed to
4) Levine book recommended by the teachers? ) be told separately Darwin's theory has gaps —
pCO: :‘Yes. = MR. GILLEN: Objection, calls for
«= Q: And when you said that the district is fe} speculation.
7 continuing to look for a book that will make mn BY MR. ROTHSCHILD:
f™ everyone happy, what did you mean by that? | Q: — in the statement that you read fo the
w A: A book that would be acceptable to the board j students on January 18th?
1) Curriculum committee and the teachers. ii =A: Could you ask that again?
(1) Q: What was your understanding of what it would 1) @: Yes. If the book identifies gaps in [Darwin's
12) take in a book to make everyone happy? (12) theory of evolution, why is the district making
A: I think the board curriculum committee was (13) a point to tell the students in a statement
14) concerned with the presentation of Darwin and 14) read before the subject of evolution is fovered
11} so they were examining the chapters that dealt (16) Darwin’s theory has gaps?
{16} with Darwin. pes MR. GILLEN: Objection, calls for
17) ~Q: And what was your understanding of what they (17) speculation.
{1} Were concerned about? 11 A: I was directed to work with the board and the
9 A: That Darwin was taught as a fact and that it 119) teachers to develop a statement that the
2 was overstated as a given with no mention of fe) teachers would read to address the concerns
21) any shortcomings or gaps or problems. je) that Darwin's theory is not taught as a fact,
pa) Q@: And did you personally ever review the biology (zq) that other alternative theories of evolurion
(23) textbook to reach your own conclusion about 23] were presented and that students being made @
24] whether the book, in fact, did identify gaps or 4) aware of the book Of Pandas and People and that
5) shortcomings in the theory? es} resulted in that statement being — having

 

 

 

 

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1 the curriculum, nobody has ever done that in
2) any meetings of the board or the board
8) curriculum. committee? f
mw) A: obody site"
ts © Q@: Said here’s why we should present intelligent
i) design to the students.
mA: Intelligent design was suggested just to be as
je) an example of one of the other theories,
(9 alternative theories other than Darwin's.
{19 @: Mr. Baksa,1 could suggest that another theory
11) of the development of species is they were all
{12 made out of playdough, right, I mean I could
13) say that, right, and you would agree with me
{i4) that that’s a scientifically unsound
1 proposition? Is that fair?
«OA: Are we talking about playdough now?
77) @: I’m not talking about the philosopher. I'm
1 talking about the stuff that’s like clay.
i A: In the discussions about language that we vous |
fe) use, intelligent design was brought up as when
jt] we're making students generally aware of other
jz theories, intelligent design was brought up as
jz] an example.And I don't remember presenting it
[E in that way that being challenged. I think

‘veut

25) that was generally accepted.

. Page 139
1) Q: Okay. But J assume that when you're trying to
@ develop science curriculum you're actually —
1) and you're making students aware of other
4) theories you're trying to make them aware of
i] scientific theories, correct?
i A: Yes.And it was my understanding at the June
m meeting that the teachers were okay with
t) language that included intelligent design. So
9] I would have — again, my goal was to try to
[1] Come to some agreement between the concerns of
{11} the board and the language teachers could live
tq with. So I thought we — that was acceptable
pa} to them.
Q: Okay. But at that June mecting nobody
explained what intelligent design was or what
its status was in the scientific community at
large or anything like that?
A: 1 don’t remember any of them doing that.
Q: And that never happened after that cither,
correct, as far as you know?
A: Yes.
Q: I'm correct?
A; You're correct.
Q: And originally it was your understanding that
the science teachers were okay with this

{14}
(15)
{6]
7}
{18}
(18)
(20)
{21}
f22]
(23}
[24}
[25)

 

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1) language, but in August it turned out that!
2) regardless of what they had said before,
3) they’re not okay with it?

# A: Correct.

jj @: And other than Ms. Spahr indicati
te) teachers hadn’t been consulted and di
m with this, did she explain what's wrong
1g) intelligent design?

jm A: Mrs. Spahr from the very beginning, from
{19 documents 897, which include reference to
111) intelligent design, in my conversations with

1 Mrs. Spahr she made no distinction between
13} intelligent design and creationism. For hi
4) they were synonymous.
11) Q: And did she explain why she heldithat view?
pe) A: From her research that she had done she felt
17) that legatly we would not be able to teach

18) intelligent design because it’s just
(19) creationism.

eq «= Q:: And did she express that view at dither this
21} June board meeting or — the June curriculum
jz] committee meeting or the August curri¢ulum

ja] committee meeting?

 

that the
‘t agree

  
 
  
  

 

24) | A: I know she did to me. I’m not sure if she did
fs] at either of those other meetings.
Page 1
1) Q: In these notes from this August meeting on Page

2 58 it says, Call Russell - did they say what
| schools are using it.
4) Did you make an inquiry to the soli
1) about whether other schools were usi
jg) textbook?

mA: ~ We did ask our solicitor to see if there were
(@ any other schools using the book, to he us an
ts) Opinion on its use as a classroom set of to ,
119 distribute it to each individual student, if

(1) there were any cases involving the teaching of

1121 intelligent design and also asked fora
13) specific law firm's history.
14) @: And was that the Thomas More Law Center?
ps) <A: I think so, yes.
ti —«Q:_ In terms of finding out whether other schools
17) used it, did you get an answer to that
(18) question?

9) A: The only school that I found — that came to my
(2) attention that used it was Tomball.
pt) @: Did you also make a call to anybody at Liberty
2) University relating to intelligent design or

jz} Pandas, a Dr. Gillen maybe?
2) +A: Yes. Dr. Gillen taught at Tomball

itor
this

 

 

2)  Q: In the answers to interrogatories it says that

 

 

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/ 1) | @: Did any school board member ever pick up th

| statement that was read to students in the

| biology classes, that a theory in science isa

| general conclusion or assumption drawn after

| observation.

) @Q: And, you know, the students are being taught -
) it’s a theory, not a fact. And that language:
1 ig not being used for any other theory that's

4 being taught to Dover students, correct? The

4 curriculum hasn't changed so that students are,

4 told:that germ theory is a theory, not a fact; ~

) orghe theory of gravity is a theory, not’a

4 fact, or atomic theory is a theory not a fact.

» Right

0 A: That's correct.

3 Q: Only:evoiution is being singled out. Is that

5 faith

nA: That's correct. ,

5 Q:_ Has anybody in the board ever communicated why
y of all the scientific concepts being taught to

o Dover students evolution is being singled out

4) for the qualification that it’s a theory, nota

4 fact?

3 =A: Not to me.

4 Q: And in your understanding of the scientific

g terms of theory and fact, could a scientific

Page 147

4) theory ever graduate to a fact?

a A: Thave no idea in the scientific world what

3) qualifies something to move from one stage to

wy another or even what the definition of either

= of them might be in the scientific world.

je @: Did any school board member ever explain why
m they wanted language that it was a theory, not .

(8) a fact?

jm A: Nothing other than they felt that that was an’

iq erroneous presentation in the textbook, to

13 A: That it was being presented as a fact when, in
14) fact, it's:a theory that still hasn't been,
19 uitimately proven to be a fact. é
1 + Q: In all the page sites that school board members
17) called to your attention did they ever show you
18) text in the textbook that was adopted in which
19) evolution was called a fact, nota theory?
27 MR. GILLEN: Objection to the
2} characterization of his testimony to the extent
24 it implies more than one board member did that.
23) Answer, Mike.
A: Could you —
BY MR. ROTHSCHILD:

24)
25}

{f= edition you were using was the 2004 editi

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iq textbook and say, look, in here it says that

13) evolution is a fact, not a theory or it's a @ «
4) fact and a theory? Is there any text that they
} pointed you to that made that assertion?
4 | A: I don’t remember specific pages, but ] do think
1 Iremember both Mr. Bonsell — I know forjsure

fe) Mr. Bonsell felt that there was language in
1) there — I remember him saying that there
{19 talk about evolution without saying it’s a
11) theory, that they were omitting the word
(12) theory. So he felt that strengthened the ca
{13} to present it as a fact.And Mr. Bonsell sould
(14) have been looking at the edition before the
(15) 2002.

116 Q: But that wouldn’t really matter for

117) curriculum item you developed because the
n,

jwas

119) correct?

2) =A: In August, yes.
et) Q: And Mr. Baksa, I’m looking at the teacher's
(2) version of the biology textbook, but Iam
ea} fairly confident that in this respect it's
24) similar to the student's version, that, in
25) fact, the heading, as you start your study af

—_—

1} evolution, is Darwin’s Theory of Evolution.
m@ A: Unrhum.
~ Q: So in that respect it's not misleading the
4} students at all, it's in marquee and klieg
1 lights presented as a theory, correct?

te) «= A: Thave no idea.

[ rim @: Do you understand intelligent desi

 

ft
to bea

  
  
  
 
 
 
 
 
 

je) scientific theory?

A: I understand professors like Micha
(19 Lehigh University are either proponents
(11) researchers for intelligent design. My
i127 knowledge of intelligent design and the
113) scientific community is fairly limited. 1
(14) haven't been exploring it for a Jong period of
(1 time. So ] don’t know that I could fully
{16} answer that other than knowing a few
17) individuals who are involved in intelligent
ta) design.
11) @: Do you understand that there's a
fey between something that scientists say id
21) something being a scientific theory? No
22) everything scientists say is a scientific
jz) theory. You would agree with that, righ
tea) A: Okay.
fe) | @: Do you agree with that or do you

Behe at

inction

  

not know

 

 

 

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ot Page 150 Page 152
\" one way or the other? 11) A: I believe my secretary Amy Aumen formatted it.
@ A: I mean,I'm not ina position to judge what the ta Q: Do you know whether Mr. Nilsen created this on
scientific community, how they — the standards i) his own or with the aid of others?

w) they set and the judgments they make about
() their colleagues and their research and the

4) A: I believe he created this in conjunction with
3 Thomas More.

 

{6) status it has. 1 just have no knowledge of 8) a: If you turn to the second page there isa
mm that. m frequently asked question, What is the theory
{8) Q: And how would you _ what would it take for you (8) of Intelligent Design. And it says, /e theory

to feel qualified to answer the question
po, whether intelligent design is a scientific

of intelligent design is a scientific|theory
iq that differs from Darwin's view a d is endorsed

111) theory? What expertise would you feel you

1'q would have to have or what resource would you
113) feel you would necd to look to to make a

4) determination for yourself whether intelligent

i) by a growing number of credible
12 Do you know what the Dover
13] District based its assertion that in
114] design is a scientific theory on?

 

cientists.
Area School
elligent

(18)
6 A: I don’t know. 16]

| design is a scientific theory?
W
7 = MR. GILLEN: Objection. It calls for

  
 

 

 

 

(1) speculation. If you can answer, do. 18 cake t0 develop 2 an n edition to pe Pay
ye A: Yeah,I don’t know. {19} withthe teachers, correct?
20} BY MR. ROTHSCHILD: pn OA: Yes.
2 Q: Do you feel that you could make a judgment : imateat that, in fact, occut?:
qj about whether intelligent design is, in fact, a . “
za) scientific theory by listening to the opinions -of who actually created the text
ra) of the members of the Dover Area Schoo! Board? a) for ort, wi who a that, you, the teachers or
zs A: I wasn’t making — I wasn’t asked to make a 25) both?
© Page 151 Page 15

judgment. What I was asked to do was to work

1) «6A I-wrote a first draft and I gave it to the

   

 

a with the board curriculum committee and the at é
i whole board and the teachers to develop a. pS osition. Exhibit Numbers 20 and:21
4 language that was agreeable in the curriculum, “4 marked for identification. Dy
is) to find a textbook that was agreeable to both S BY MR. ROTHSCHILD:
3) and to develop a statement that would be read ms @: Do you recognize the two Exhibits we've marked
m to the students that would be agreeable to them m as ~ and 1217 "
js) and that was my rolc. 8) A: 2and 21? I don't have these
= MR. ROTHSCHILD: Can we mark this as an om @: 20 and 21.
(109) exhibit, please? 109) ~—s MR. GILLEN: Yes, you do.
(11] (P Deposition Exhibit Number 19 marked for 114) A: Oh, oh. .
12) identification.) (12) BY MR. ROTHSCHILD:
113) BY MR. ROTHSCHILD: 13) Q: And.are these the productiof your work with the
(14, @: Do you recognize the document we've marked as i14) science department on developing a modification
115) P-19? 1g to the biology curriculum?
ye =—sA:::' Yess. ne =A: Yess, but not entirtly.
17 ~~ Q: And what is it? 17) @: And what's missing?
1) A: This is a news release that the district sent ne A: There’s:another teacher .
19) to all of our residents. tw «= Q: And chronologically here Where docs that
0) @: And who prepared this document? eq) teacher draft fall, before September 20th,
py A: Dr. Nilsen. 21) before September 21st?
4 ~-Q: Did you have any involvement with it? a «=A: It would be a “draft created on October 18th.
@ 233 +A: No. 23 October 18th, okay. So up till — sorry, I'll
4) Q: Do you know if anybody else had any involvement 4) back up.Am I correct that the documentgave're
(25) with it? (25) looking at as 20 and 21 are identical except |

 

 

 

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te AS Weds”
je Q: And Casey Brown has been quoted as saying that
118) school board members asked her whether she is

(1) born again. Did you observe anything like
feo) that?

1) A: No.

ja +Q: Are you aware that the Discovery Institute
23) released a press release criticizing Dover for

j24) passing the resolution it did? .

rs) A: Yes.

@ Page 175

1) @: And how did you become aware of that?

A: I1don’t remember that.

~]}  Q: Did you participate in any discussions with
4) anybody at the school district or school board

1) about the Discovery Institute taking that

{6} position?

m A: I might have talked to Dr. Nilsen about it.
 @: And describe your conversation.

w A: I really don’t recall specifics of that

(1) Conversation, I just know that we did
14] recognize that they had this press release, but

112 I don’t really recall specifically what we

3) talked about.
4) Q: Are you aware that members of the Discovery
119) Institute communicated with the school district
ve} directly about their curriculum change?

17) =A: Yes.

11) ~+@: Have you participated in any of those

(19) discussions?

po 460s A: I was at a meeting with a representative from
yey the Discovery Institute.

ea Q: And when did that meeting occur?

3 A: _I guess prior to — sometime after the October
je) 18th I think.

es)  Q: Was it prior to or after the lawsuit was filed?

March 9, 2005

 

 

+

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3 A: Prior to.
~ Q: Where did that meeting occur?
mA: At the administration office cpnference room.
4) Q: Who was there?
js) A: 1 was, Dr. Nilsen, Mr. Bonsell and I believe
ta Mr. Buckingham and Mrs. Harkins.
™ Q: Who participated on behalf
fe) Institute?

e A: 1 forget his name.

1) @: Was it someone named Seth per?

ty =A: Yes:

12) @: Do you know who initiated

13) A: No.

(14) Q: Was the discussion about the legality of

(15) teaching of the curriculum or the edagogical

(16 merits of the curriculum?

17 A: The discussion, Discovery

 

f the Discovery

  
 
  
   
    
  
  
 
 
 
 
  

¢ felt that

ne «= MR. GILLEN: Wait.To the extent you

(20) understood you were receiving legal advice from
fe) Mr. Cooper with the board meeting, as a board
4 for the purpose of getting that Iegal advice,

yea) don't disclose that information.
(24) BY MR. ROTHSCHILD:

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is} the change of the board curricul
1) «60s MR. GILLEN: You can answer

m A: Legal.
(6) BY MR. ROTHSCHILD:
@ Q: Only legal?

10) A: Yeah, I would say so, yeah.
i) Q@: Do you have any knowledge¢ of how this meeting
[12 was arranged?
13) A: No.

14) @: Do you know who arranged the meeting?
1s) A: No.
16 Q@: When this meeting began,

(18) just my limited question. We'll
(1 by step. Who began the discussi
pq A: I think it was Mr. Cooper.
ft) Q: Was there any part of that discussion that
jez) included discussion that the Discovery

23) Institute would represent the school district
(24) in any litigation over the policy?
5} MR. GILLEN: Eric, based on the

 

 

 

 

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Dover Area Schoo! District, et al.

of 18
March y, Zuus

 

 

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ok Generally, his e-mail speaks to the involvement -

8}
is ‘ofthe board in the curriculum. And, you! know;

   
 
  
 
   

it Mr. Bonsell-who gave you — you said you
-given this book by the board members. Who..
swer ‘the board members who gave it t@. you?
A: think it was just Mr. Bonsell, cee

‘ind did he say anything to you when he gave you
this’book? *

(24) AsActually, it might have been given to — I
@ s-don't remember him saying anything to me and it

uiSepecepy to get an idea of where the’ ard i

(9) Coming from.At the time you sent this e-mail

1) ha@ you examined the book?

A: Just skimmed it. |

Qr-sed-what ‘did you méati by. you know, get an idea
SiS Vic board is coming from?

yo) As Just that reading. the book might help explain

11) whit concerns the board might have in our

(12) existing social studies curriculum.

ny «QT mean, having skimmed the book and heard from

114) MEBenscil, what did you v understand those

13 ‘concerns to be?

ye Az Inever met with Mr. Bonsell about this.

7G: ‘Do you know what The Myth of Separation is

{18 about?

(9) “A: In a vague sense:

po «6 42 “What's that?

A: That the separation of church and state might

(22) neweghave deen the.clear intent of our

23] founding fathers. I couldn't explain it more

es) than ‘that

5} | @: And you said that there’s since been meetings

 

 
 

—

Page 1

|

 

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(1) with you and Mr. Bonsell and Mr. Hoover and Mr.

i Neal?
is) A: No, Iwas never at those meetings.
4) Q: Okay.So you were not part
fs} anybody report to you what was
A: I think Dr. Nilsen gave me li
7 topic summary of what they dis:
js) recall anything else. I know 1 di

 

  
  
 
 
 
 
 
 
  

tio} the mecting.
(11) @Q: What do you remember fro the document
2) summarizing the meeting?

3) A: Idon't remember it.

4] Q: Is that a document you still
[18) possession?

11 A: Yeah, it might be.

177, MR. ROTHSCHILD: I request the production
p19) of that document.
19) =A. GILLEN: Sure.
(20) BY MR. ROTHSCHILD:

ie) ~—Q: Is it your understanding from receiving The

fet}
[ 2) Myth of Separation and getting a report on the

231 views of Mr. Bonsell that Mr. Bonsell is trying
j24) to change the social studies c
25) present a view about the foun i

 

[eect

|_
1) religious in nature than is currently heme
(q taught?

t) MR. GILLEN: Objection, calls for
4] speculation.
i) A: Thaven’t had that conversation with Mr.
i} Bonsell. The only thing, when I first came on
m in 2002/2003 I know Mr. Bonselljdid hand me a
1s) copy of one of George Washingtpn’s — his
(@ inaugural address or his speech nd did express
1) Concern that he wanted to make sure that in our
(1) Curriculum our students were b¢ing taught about
(12, our founding fathers and were being taught
(13) about the Constitution. I don’t r¢member
14) having a conversation with Mr. Honsell about
(#5) separation of church and state.
118) BY MR. ROTHSCHILD:
17 ~©@: Was there something specific in the inaugural
1 address he was calling your attention to?
11) A: No, not that I recall.
fe) ~Q: So it’s just he wanted the inaugural address
j2t) read, whatever it said?
2) A: 1 don’t know that he wanted it read. It was
3 just a document he gave me that he felt was
f24) important.
es Q: And is that something you

 

 

still have in your

 

 

 

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Aarcn y, 2UU>

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{) understanding that her expertise in creationism
1 and Bible science would be useful for you?
— Act No.

y  Q: During the course of this testimony you've
1) described how Mr. Bonsell has expressed some
js) issues or Concerns relating to the social
m studies curriculum. Has any individual board
1) member or the board as a whole identified any
» other curriculum issues which they have
{19} Concerns or issues about?
ny = At I would say that differently. 1 don’t know
{12 that Mr. Bonsell reviewed the social studies
119) curriculum. He just thought it was important
14) that in a curriculum the Constitution is taught
15} -and the founding fathers are taught.
6) Q: And he also, apparently, sent this book, Myth
117) of Separation, to the administration? »
ys} A: I believe he gave that to Dr. Nilsen, yes.

«= GQ: Other than that and what we've discussed about 119}

py the biology:curriculum can you think of any

2) other aspects of curriculum where the board or

22) individual board members has expressed

3) concerns, raised issues OF made suggestions

pq about how the curriculum should be changed?

rs A: Again, Mrs. Brown did have concerns with the

a

Page 195 ee <Page 4
4), curriculum and the heaith curriculum were under
(2 review and they were implemented in the year I

1) family consumer science curriculum, the
4 foundations of that curriculum. In fact, at
@ one point Mrs. Brown reviewed the entire
#) program studies for the high school and made

| suggestions that we return to some former

iq curriculum courses that had been deleted in the
™m current years.

OQ: What about limiting the question to current
jm members of the board, other than what you've
j1q already described, do you have any further

(1) answer to my question?
iq A: What’s the question?

a Q: The same question that you responded with
114) discussion about Mrs. Brown, have the board or
(1 individual board members raised concerns or

1 issues. about any aspect of any curriculum item
(17, or made suggestions about how the curriculum
a) should be added to, modified or subtracted

1) from?

A: I. can only think of Mr. Bonsell and social

fet) studies.

za MR. ROTHSCHILD: Those are all my

3] questions. Do you have any, Pat?

ay |= MIR. GILLEN: I just have a few.

[25) EXAMINATION

 

((.. BY MR. GILLEN:
a Q:: Eric was just asking about subjects in the
@ curriculum. I wanted to ask you, has any ard

4) member expressed concerns about the iculum
fs) touching on sex education?
ts) A: Yes. That — yes.

m Q: Okay. 1 thought that perhaps at this moment in
ja) time you weren't remembering that.
1) I think this is clear from your testimony,
1) but J just want to ask you for the record. At
(11) any point in —
q A: If I could interrupt.There is a current board
11 member, Mrs. Geesy, who did express concern
(4) about inhalants in that curriculum piece JIt's

(1) the health curriculum.
1 «=: At any point in this process did am board
(17) member direct you to take steps to impl¢ment
11g the teaching of creationism?

 

 
 
 

A: No.
zo) MR. GILLEN: I have no further questi
21) EXAMINATION
22 BY MR. ROTHSCHI

3 @: Which board members raised issuds about the
fea} teaching of sex education?
ps) A: When I came to the Dover district the math

Q

i started, 2002/2003.
4) So those concerns were communicated to me

1 by Dr. Nilsen as having come to him d his.
1 role as assistant superintendent in brin:
m those curriculums to review and revision. So I

| don't — I'm not aware of particular bo
1) members’ names who raised the issues.
9 Q: Were you aware of the nature of the issue?
1) A: Generally it has to do with contra¢eptives and
i1q abstinence and how much information you should
113) give students about that information for them
{14} to make good decisions.
1 Q: And do you have an understandi of what the
(1 board members who raised concerns, hat their

 

eq not trying to solicit any communicatio

1) happened with counsel or in the pres¢nce of
24 counsel. So putting any communications that
za) fit that description aside, has there bean any
ja, discussion — are you aware of any distussion
(25) by the board or among board members about

 

 

 

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117) preference was?
i i «=A: No, I don’t, I don’t remember thay.
tier ~«=«Q: The question I'm going to ask yop right now I'm
that

 

 

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